                 Case 2:20-cv-05477-PBT Document 12-1 Filed 11/03/20 Page 1 of 1
                                                           EXHIBIT "D"

  From:    Stein, Josh JStein1@montcopa.org
Subject:   Fwd: LIST OF BALLOTS TO BE CURED
   Date:   October 31, 2020 at 1:44 PM
     To:   julia@montgomerycountygop.com, blevy@mcdems.org


       Julia/Brian,

       Attached, please find the spreadsheet of ballots received by the County with apparent defects.



       Joshua M. Stein
       County Solicitor
       Montgomery County Solicitor’s Oﬃce
       One Montgomery Plaza
       Suite 800
       Norristown, PA 19404-0311
       Phone: 610-278-3033
       Fax: 610-278-3069
       Joshstein@montcopa.org
       Begin forwarded message:

           From: "Dean, Francis" <FDean@montcopa.org>
           Date: October 31, 2020 at 11:11:04 AM EDT
           To: "Soltysiak, Lee" <lsoltysi@montcopa.org>, "Stein, Josh" <JStein1@montcopa.org>
           Subject: FW: LIST OF BALLOTS TO BE CURED


           Gentlemen,

           Please see aOached latest list of ballots with defects. If the defect is an
           Incomplete DeclaraUon or Missing Secrecy Envelope
                                                        Envelope,, the voter need only come to
           1430 DeKalb Street, Norristown, PA 19401. They will be given the opportunity to
           correct their declaraUon or we will provide them with a secrecy envelope, which
           they can then insert and reseal inside the Ballot Return Envelope.

           For the remainder of defects, the voter needs to go to Voter Services, One
           Montgomery Plaza, 425 Swede Street, Suite 602, Norristown, PA 19404 and
           request a Cancel/Replace
                     Cancel/Replace..

           Very truly yours,

           Frank Dean | Director of Mail-In ElecUons
           Voter Services
           County of Montgomery
           425 Swede Street, Suite 602, PO Box 311, Norristown, PA 19404
           ! 610.278.3770 | " fdean@montcopa.org
           www.montcopa.org




            voter contact
           form 2…ral.xlsx
